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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

      -v.-                                                     S2 20 Cr. 330 (AJN)

 GHISLAINE MAXWELL,

                    Defendant.




             THE GOVERNMENT’S MEMORANDUM OF LAW
 IN SUPPORT OF ITS MOTION IN LIMINE TO PRECLUDE EXPERT TESTIMONY
            OF DR. PARK DIETZ AND DR. ELIZABETH LOFTUS




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                                PRELIMINARY STATEMENT

       The Government respectfully moves to preclude certain opinions from Dr. Park Dietz and

Dr. Elizabeth Loftus. Rather than focus narrowly on reliable opinions that would be relevant to

issues in this case, the defendant proposes to have Dr. Dietz and Dr. Loftus testify broadly about

a wide variety of topics, from testimony about various psychological disorders to testimony

regarding the generation of false memories in laboratory settings, that are not helpful to the jury.

Many of those opinions are also unreliable, squarely within the ken of the average juror, or would

invade the province of the Court and the jury if offered.

       To the extent Dr. Rocchio is permitted to testify on her opinions, the Court should admit

reliable opinions on the same topics by defense experts. But the defense’s expert notice for Dr.

Dietz and Dr. Loftus is far more expansive, and some of the defense’s responsive opinions are not

reliable. The Court should preclude many of their opinions.

I.     THE COURT SHOULD PRECLUDE CERTAIN OPINIONS FROM DR. DIETZ

     A. Background

       As described in the defense expert notice, attached as Exhibit A 1, the defense offers the

opinions of Dr. Dietz, an expert psychiatrist, both in response to the Government’s expert Dr. Lisa

Rocchio and on several other subjects.




1
  The Government moves to file a redacted version of Exhibit A and to seal Exhibit B. The
proposed redactions are consistent with the three-part test articulated by the Second Circuit in
Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006). Although these exhibits are
judicial documents subject to the common law presumption of access, the proposed redactions are
narrowly tailored to protect the privacy interests of victims, including victims who have not been
publicly identified, and who are a subject of the Court’s order granting the motion to let certain
victims and witnesses testify under pseudonyms, and third parties. Because the Government has
already moved to file a redacted version of Exhibit A (see Dkt. No. 418), the same version is
attached to this motion.
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          As to Dr. Rocchio’s opinions, Dr. Dietz offers the following responsive opinions:

          •     The word “grooming” “imputes motive and intent without adequate evidence of
                either,” including to the defendant. (Ex. A at 3).

          •     “[G]rooming has no consistent definition, and concerns have been raised that there is
                no valid method to assess whether grooming has occurred or is occurring.” (Id. at 4
                (citation and internal quotation marks omitted)).

          •     “In any particular population of alleged victims, patients, or plaintiffs—including those
                whom Dr. Rocchio has treated or evaluated—the determination of whether grooming
                has occurred is a subjective judgment hinging largely on the credibility of individuals.
                Such judgments have no known error rate and cannot be tested, verified, or
                reproduced.”

          •     “There is no generally accepted theory of grooming by third parties,” and it is not
                accepted in the relevant community. “[I]t has not and cannot be tested; and there is no
                known or potential rate of error.”

          •     The notion that “individuals with particular vulnerabilities are often targeted by
                perpetrators of sexual abuse” is “a commonly accepted bit of clinical lore” that is “not
                based on empirical data.”

As explained below, the Government agrees that Dr. Dietz may offer an opinion on the difficulty

of accurately determining whether an act constitutes grooming, in response to Dr. Rocchio.

Although his remaining opinions purport to respond to Dr. Rocchio, however, they are themselves

unreliable or invade the province of the jury, and should be precluded.

          Beyond his response to Dr. Rocchio’s opinions, Dr. Dietz offers several additional

opinions, to which the Government objects as discussed herein. As to “hindsight bias,” Dr. Dietz

opines:

          •     Hindsight bias, or “the tendency to overestimate how predictable or foreseeable an
                event is after being informed about the outcome of an event,” exists and has been found
                in various experiments. (Ex. A at 4-5).

          •     Hindsight bias “affects legal judgments.” (Id. at 5).



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       •     Awareness of the impact of hindsight bias “should temper any claims that so called
             ‘grooming’ behaviors should have been noticed and either reported or avoided and that
             failing to do so constitutes knowledge or intent.” (Id.).

As set forth below, the Government objects that these opinions are within the ken of the jury and

invade the province of the jury and the Court.

       Dr. Dietz also offers the following opinions as to the “Halo effect”:

       •     The “Halo effect” is “a cognitive bias in impression formation whereby the positive
             evaluation of one characteristic has a radiating effect on how other, non-related
             characteristics of the individual are evaluated.” (Id.).

       •     “Like many people who achieve great power and wealth, Jeff[re]y Epstein exploited
             the Halo effect to surround himself with people who would serve his needs.” (Id. at 6).

       •     Epstein’s personality flaws “allowed him to use his brilliance to manipulate people to
             do his bidding and to compartmentalize people into isolated cells in which none had
             complete information about his activities.” (Id. at 7). 2

As set forth below, the Government objects that these opinions are an irrelevant invitation to jury

nullification and an improper vehicle for introducing a factual narrative.

       Dr. Dietz offers a lengthy series of objectionable opinions as to “Multiple Pathways to

False Sex Assault Allegations.” (Id. at 7). In relevant part, Dr. Dietz opines:

       •     “False allegations of sexual assault do occur, and there are multiple pathways to these
             false allegations of sexual assault.” (Id. at 7).




2
  The disclosure also notes that “Dr. Dietz is also prepared to address Jeffrey Epstein’s sexual
behavior should it prove relevant” (id. at 7), but as he has not disclosed what opinions he may have
about Epstein’s sexual behavior, he has not provided adequate notice as to them and the
Government does not address them further herein except to note that it will object if he attempts
to offer them. See, e.g., United States v. Valle, No. 12 Cr. 847 (PGG), 2013 WL 440687, at *5
(S.D.N.Y. Feb. 2, 2013) (“Merely identifying the general topics about which the expert will testify
is insufficient; rather, the summary must reveal the expert’s actual opinions.”).
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He also lists these “pathways,” in terms at times “drawn nearly verbatim” from a 2012 article in a

forensic psychology journal, along with conjectures of ways in which these mental conditions or

circumstances could hypothetically lead to false claims of sexual assault, including the following

examples:

       •     “Lying”: “Often, humans lie because of what they perceive as the favorable
             consequences for lying; for sexual assault these consequences could be . . . the severe
             negative consequences that the alleged perpetrator experiences . . . secondary gain from
             victim status . . . excusing behaviors or characteristics of the alleged victim (e.g., sexual
             activity, pregnancy, sexually transmitted diseases) [or] financial gain.” (Ex. A at 7).

       •     “Implied Consent”: “A false allegation can arise when it was reasonable to believe
             consent was given but the alleged victim falsely believes that it was not.” (Id. at 7-8).

       •     “False Memory”: Dr. Dietz cites principally to the work of Dr. Loftus in describing the
             existence of false memories. (Id. at 8).

       •     “Intoxication”: “A person who does not accurately recall events that occurred while he
             or she was under the influence or while experiencing the side effects of withdrawal
             . . . may confabulate or fill in the memory lapses with events that seem probable or
             which for some reason they come to believe ‘must have’ taken place.” (Id.).

       •     “Antisocial Personality Disorder”: “If an individual with antisocial personality disorder
             is likely to lie to achieve power and pleasure, a false allegation of sexual assault might
             be the means by which he or she attempts to achieve power over the falsely accused.”
             (Id.).

       •     “Borderline Personality Disorder”: “[A]n individual with BPD may use a sexual assault
             allegation as a way of impacting a third party for some desired outcome.” (Id. at 8-9).

       •     “Histrionic Personality Disorder”: “In times when attention is not being received to the
             desired level, a false allegation of sexual assault may help to pull individuals with
             histrionic personality disorder out of their depressed state.” (Id. at 9).

       •     “Delirium”: “Relevant to this pathway are the perceptual disturbances that may be
             present, including misinterpretations, illusions, or even hallucinations.” (Id.).

       •     “Psychotic Disorders”: “[D]elusions may lead a person to claim adamantly that sexual
             relations or events occurred that may be impossible or highly improbable.” (Id. at 9).




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        •      “Dissociation”: “[I]t is possible that in the event of a sexual assault, dissociation may
               cause a person to fill in the parts of the experience that are not clearly remembered with
               events that for them feasibly could have occurred.” (Id. at 10).

        •      “Intellectual disability”: “Intellectually disabled individuals, compared to individuals
               without ID, have vulnerabilities related to memory and communication that the legal
               system may not be equipped to handle adequately.” (Id.).

As set forth below, the Government objects that these opinions invade the province of the jury, are

within the ken of the jury, are unhelpful and prejudicial, are unreliable, and lack fit to any issue to

be tried in this case.

        Dr. Dietz also offers several opinions generally related to the evaluation of witness

credibility:

        •      “Changes in the core details of the allegation are often used by professionals as indices
               in determining the credibility of a victim’s claims.” (Ex. A at 10).

        •      “Additional research is needed, but at this point there is little empirical support to
               indicate that being emotionally upset, distressed, or crying while reporting an assault
               indicates that the report is more likely to be true.” (Id. at 11).

        •      “Individuals who have been sexually assaulted have higher rates of mental disorders
               than individuals who have not been sexually assaulted,” and such disorders “can affect
               memory and recall, requiring assessment on a case-by-case basis.” (Id. at 11).

As set forth below, the Government objects that these opinions invade the province of the jury and

are prejudicial.

        Finally, Dr. Dietz offers the following opinions regarding post-traumatic stress disorder

(“PTSD”):

        •      Significant portions of victims following sexual assault exhibit “[v]arying degrees of
               post-traumatic stress symptomatology.” (Ex. A at 11).

        •      Post-traumatic stress symptoms include (but are not limited to) “distressing memories
               of the event; intense or prolonged psychological distress at exposure to cues that
               symbolize or resemble an aspect of the traumatic event; marked physiological reactions
               to cues that symbolize or resemble an aspect of the traumatic event; avoidance or efforts
               to avoid distressing memories, thoughts, or feelings about or closely associated with
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           the traumatic event(s); and avoidance of or efforts to avoid external reminders (people,
           places, conversations, activities, objects, situations) that arouse distressing memories,
           thoughts, or feelings about or closely associated with the traumatic events(s).” (Id.)

       •   Individuals with this subset of post-traumatic stress symptoms “are particularly
           unlikely to engage in continued communication or friendly gestures with an alleged
           perpetrator, to wear clothing provided by an alleged perpetrator, or to unnecessarily
           recreate a sexual assault event, any of which would be expected to elicit intense
           distress.” (Id.).

As discussed below, the Government objects that these opinions are either irrelevant or—to the

extent intended to be applied to the context of this case—unreliable.

   B. Legal Standard

       Rule 702 of the Federal Rules of Evidence provides:

                  A witness who is qualified as an expert by knowledge, skill,
                  experience, training, or education may testify in the form of
                  an opinion or otherwise if:

                  (a) the expert’s scientific, technical, or other specialized
                  knowledge will help the trier of fact to understand the
                  evidence or to determine a fact in issue;

                  (b) the testimony is based on sufficient facts or data;

                  (c) the testimony is the product of reliable principles and
                  methods; and

                  (d) the expert has reliably applied the principles and methods
                  to the facts of the case.

The party that proffers the testimony bears the burden of showing that it is admissible by a

preponderance of the evidence. See Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592 &

n.10 (1993) (citing Bourjaily v. United States, 483 U.S. 171, 175-76 (1987)). A district court’s

exclusion of expert testimony will be affirmed unless it constitutes an abuse of discretion. See

Gen. Elec. Co. v. Joiner, 522 U.S. 136, 142 (1997).


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       A threshold issue is, of course, whether the witness “is qualified to be an ‘expert’” in the

subject matter at issue. See Nimely v. City of New York, 414 F.3d 381, 396 n.11 (2d Cir. 2005).

Testimony from a qualified expert is admissible only if the trial court determines that it is both

relevant and reliable. Daubert, 509 U.S. at 589-90; see Kumho Tire Co., Inc. v. Carmichael, 526

U.S. 137 (1999). Specifically, in Daubert, the Supreme Court held that the Federal Rules of

Evidence “assign to the trial judge the task of ensuring that an expert’s testimony both rests on a

reliable foundation and is relevant to the task at hand.” 509 U.S. at 597. “Daubert applies to both

defense and government experts.” United States v. Yousef, 327 F.3d 56, 148 (2d Cir. 2003).

       Applying Rule 702, the Court must determine whether the expert’s reasoning and

methodology underlying his testimony is valid, and whether that reasoning or methodology was

applied reliably to the facts, so as to be relevant and helpful to the jury. See Kumho Tire, 526 U.S.

137. The reliability inquiry is flexible and “must be tied to the facts of a particular case.” Id. at

150 (citations and internal quotation marks omitted). The Second Circuit has emphasized that “it

is critical that an expert’s analysis be reliable at every step.” Amorgianos v. Nat’l R.R. Pass. Corp.,

303 F.3d 256, 267 (2d Cir. 2002). “In deciding whether a step in an expert’s analysis is unreliable,

the district court should undertake a rigorous examination of the facts on which the expert relies,

the method by which the expert draws an opinion from those facts, and how the expert applies the

facts and methods to the case at hand.” Id. Minor flaws with an otherwise reliable expert opinion

will not bar admission of that evidence; however, the Court should exclude the expert evidence “if

the flaw is large enough that the expert lacks ‘good grounds’ for his or her conclusions.” Id.

(quotation marks omitted).




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       Rules 401 and 403 of the Federal Rules of Evidence state that relevant evidence is

admissible when it tends to make the existence of any fact that is of consequence more or less

probable than it would be without the evidence, but it may be excluded if its probative value is

substantially outweighed by, among other things, the danger of unfair prejudice, confusion of the

issues, and misleading the jury. “Expert evidence can be both powerful and quite misleading

because of the difficulty in evaluating it. Because of this risk, the judge in weighing possible

prejudice against probative force under Rule 403 . . . exercises more control over experts than over

lay witnesses.” Daubert, 509 U.S. at 595 (quoting authority omitted).

       Among other things, the Court “must consider whether an expert’s proposed testimony

would usurp the province of the judge to instruct on the law, or of the jury to make factual

determinations.” Island Intell. Prop. LLC v. Deutsche Bank AG, No. 09 Civ. 2675 (KBF), 2012

WL 526722, at *2 (S.D.N.Y. Feb. 14, 2012) (citations omitted). While Federal Rule of Evidence

704(a) provides that “[a]n opinion is not objectionable just because it embraces an ultimate issue,”

the Second Circuit has admonished courts to take care “lest [the expert] be allowed to usurp the

function of the judge.” Marx & Co. v. Diners Club, Inc., 550 F.2d 505, 511 (2d Cir. 1977).

Accordingly, courts must not admit “opinions which would merely tell the jury what result to

reach.” Hygh v. Jacobs, 961 F.2d 359, 363-64 (2d Cir. 1992) (quoting Fed. R. Evid. 704 advisory

committee’s note); see also United States v. Duncan, 42 F.3d 97, 101 (2d Cir. 1994) (“When an

expert undertakes to tell the jury what result to reach, this does not aid the jury in making a

decision, but rather attempts to substitute the expert’s judgment for the jury’s.” (emphasis in

original)). Nor may an expert opine as to a party’s state of mind, credibility, intent, or motive. See

LaSalle Bank Nat’l Ass’n v. CIBC Inc., No. 08 Civ. 8426 (WHP) (HBP), 2012 WL 466785, at *7


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(S.D.N.Y. Feb. 14, 2012) (collecting cases); see, e.g., Highland Capital Mgmt. v. Schneider, 551

F. Supp. 2d 173, 182-183, 187 (S.D.N.Y. 2008).

       Finally, expert opinion should not be offered where it does not fit the facts of the case.

“Expert testimony which does not relate to any issue in the case is not relevant and, ergo, non-

helpful.” Daubert, 509 U.S. at 591 (internal quotation marks omitted); cf. Boucher v. U.S. Suzuki

Motor Corp., 73 F.3d 18, 21 (2d Cir. 1996) (“expert testimony should be excluded if it is . . . [inter

alia] in essence an ‘apples and oranges comparison’” (quoting Shatkin v. McDonnell Douglas

Corp., 727 F.2d 202, 208 (2d Cir.1984))); see also LVL XIII Brands, Inc. v. Louis Vuitton Malletier

S.A., 209 F. Supp. 3d 612, 642 (S.D.N.Y. 2016) (expert opinion inadmissible where it is “a

mismatch for the facts” of the case).

   C. Discussion

       1. Response to the Opinions of Dr. Rocchio

       Although some opinions by Dr. Dietz respond to Dr. Rocchio, each opinion must itself be

reliable and relevant, as required by Rule 702. See Yousef, 327 F.3d at 148. The Government

agrees that at least one of these opinions can meet this test: it is “within the range where experts

might reasonably differ,” Kumho Tire Co., 526 U.S. at 153, and can be tested through “[v]igorous

cross-examination, presentation of contrary evidence, and careful instruction on the burden of

proof.” Daubert, 509 U.S. at 596. Specifically, the Government agrees that Dr. Dietz can respond

to Dr. Rocchio’s testimony about grooming behaviors by suggesting that grooming does not have

one settled definition. See 2/25/20 Tr. at 36:13-37:14, United States v. Randall, No. 19 Cr. 131

(PAE) (S.D.N.Y.) (explaining that, in such a case, “the jury, not the trial court, should be the one

to decide among conflicting experts”).


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       That opinion is only one of those noticed by the defense, however. The defense expert

notice includes four other sets of opinions that supposedly respond to Dr. Rocchio but do not

satisfy the Daubert standard. First, the expert notice—which closely parallels the defense’s

Daubert motion—improperly discusses the facts of this particular case and comments on various

legal documents, even though it offers no basis whatsoever to conclude that Dr. Dietz has any legal

expertise or has reliably applied any expertise to the facts of this case. In particular, the notice

states that Dr. Dietz will opine that Dr. Rocchio’s opinion on grooming “carries the risk of

imputing motive and intent to the Defendant” (Ex. A at 3), that “Dr. Rocchio’s proposed testimony

is silent as to whether she is expected to impute a theory of ‘grooming-by-proxy’ to the defendant,”

and that “Ms. Maxwell is not accused of soliciting or enticing sexualized massages for herself,”

but instead that she “recruited and groomed minors to provide sexualized massages for Mr.

Epstein” (id. at 4). These opinions, while potentially relevant to the Court’s consideration of a

Daubert motion, are not properly put before a jury.

       Second, certain of Dr. Dietz’s opinions about grooming are not themselves reliable or

invade the province of the jury. In particular, it is circular to say that “grooming” “imputes motive

and intent,” because grooming is defined to be a strategic pattern of behavior used to develop

relationships of attachment and coercion between perpetrators and victims. (Ex. A at 3). That is,

if the behaviors lack the requisite motive and intent, they are not grooming behaviors. If Dr.

Dietz’s point is that determining motive and intent is for the factfinder (id.), the Government

agrees—and Dr. Dietz should not be permitted to testify that grooming behaviors “impute[] motive

and intent without adequate evidence.” (Id.) The adequacy of the evidence is a question for the

jury. Dr. Rocchio’s testimony will inform the jury about the existence of grooming behaviors, but


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leave to the jury whether such behaviors occurred in this case. Dr. Dietz is free to tell the jury that,

in his view, assessing whether grooming occurred is difficult and subjective. (Id. at 4). But it

invades the province of the jury to go a further step and tell the jury that it lacks evidence to impute

motive or intent. This is, in the most direct way possible, simply telling the jury “what result to

reach.” Hygh, 961 F.2d at 364 (internal quotation marks omitted).

        Third, Dr. Dietz proposes to opine that the notion that perpetrators target vulnerable victims

is “a commonly accepted bit of clinical lore” that is unsupported by any empirical data and cannot

be verified. (Ex. A at 4). This claim is itself unsupported by any evidence. It is also wrong. For

instance, an article cited by Dr. Dietz describes a literature review of sexual abuse involving

teachers, which identified “factors that make a child vulnerable to educator sexual abuse, such as

problems at home with parents, lack of confidence, and participation in other risky behavior.” (See

Bennett & O’Donohue, “The Construct of Grooming in Child Sexual Abuse, 23 J. Child Sexual

Abuse 957, 964 (2014), Dkt. No. 397 Ex. A; Ex A at 4 (citing the same)). Other scholars have

recognized that “[g]rooming the child begins with recognizing a vulnerable child,” such as children

with “a poor relationship with their parents,” who “do not have many friends,” or who “have

already been victimized.” (Craven et al., “Sexual grooming of children,” 12 J. Sexual Aggression

287, 292 (2006), Dkt. No. 397 Ex. A (citations omitted)). Dr. Rocchio’s clinical experience is

supported by the academic literature, in which perpetrators’ targeting of vulnerable victims is well

established. Dr. Dietz must do more to show the reliability of his view than simply call this

literature “clinical lore” and complain about the lack of data.

        Fourth, Dr. Dietz states that “no authority . . . support[s] a theory of grooming-by-proxy.”

(Ex. A at 4). To the extent that Dr. Dietz is pointing to the fact that the term “grooming-by-


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proxy”—a term that Dr. Rocchio does not employ and that the defense has attempted to inject into

the case—is not supported by the literature, that terminological claim is of course irrelevant to any

issue. To the extent that Dr. Dietz purports to claim that there is no authority supporting the notion

that a perpetrator can groom a victim for the purpose of making the victim engage in sexual

activities with others, this claim is patently unreliable, as Dr. Rocchio will explain at the Daubert

hearing; there is in fact ample literature on the pimp-prostitute relationship and other instances in

which third parties groom an individual for the benefit of someone else. And if the Court excludes

Dr. Rocchio’s opinion on this issue, Dr. Dietz’s opinion is irrelevant.

       The Government acknowledges that Dr. Dietz can offer reliable, relevant opinions in

response to Dr. Rocchio. But Dr. Dietz’s proposed opinions include legal argument, opinions that

invade the province of the jury, and opinions that are themselves unreliable. Those should be

excluded.

       2. Opinions as to Hindsight Bias

       Dr. Dietz’s opinions that hindsight bias exists and should “temper” conclusions about

whether to impute knowledge to an individual (Ex. A at 5) do not convey any relevant information

beyond the ken of the average juror and are not helpful to the jury. Instead, they are a virtually

unprecedented attempt to psychoanalyze the jurors and to supplant both their role as judges of the

facts and the Court’s role in instructing them.

       The only possible relevance of hindsight bias in this case is the supposed bias of the jurors

themselves. This is not a case where it matters whether the opinion of a witness or a party at some

point suffered from hindsight bias. The primary purpose of the testimony is to convince the jurors

to “temper” any conclusion that the defendant formed the requisite intent because the jurors might

be suffering from hindsight bias. (Ex. A at 5). Of course a factfinder should not confuse the
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benefit of hindsight with what was known at the time. But this commonplace truth does not need

testimony from a psychiatric expert.

       The concept of hindsight bias is well within the ken of the average juror. “Hindsight bias

is a common-sense concept—everyone knows that ‘hindsight is 20/20.’” Adams v. Lab. Corp. of

Am., 760 F.3d 1322, 1335 (11th Cir. 2014). The prevalence of this common saying shows that

jurors plainly understand the ways in which hindsight can bias one’s perspective. As such, expert

testimony on it is unnecessary and inappropriate.        See id. (“[C]ommon-sense concepts are

especially appropriate for consideration by a jury.”); see also, e.g., United States v. Mulder, 273

F.3d 91, 101 (2d Cir. 2001) (“[T]he district court should not admit testimony that is directed solely

to lay matters which a jury is capable of understanding and deciding without the expert’s help.”

(citations and internal quotation marks omitted)). To whatever extent the Court believes further

emphasis on this point is helpful, it can give the jury appropriate and neutral instructions to guide

its deliberations. What the defense cannot do is skew the jury’s deliberations by putting an expert

imprimatur on testimony that states, in effect, that the jurors should second-guess their assessments

of the evidence because they are subject to hindsight bias. This inversion of the courtroom roles—

in which a party’s witness sits in judgment of the jurors—is prejudicial and usurps the function

both of the jurors and of the Court in instructing the jury. See, e.g., Hygh, 961 F.2d at 364

(“Whereas an expert may be uniquely qualified by experience to assist the trier of fact, he is not

qualified to compete with the judge in the function of instructing the jury.”).

       If Dr. Dietz’s testimony on hindsight bias is helpful to the jury in this case, testimony of

this sort would become central to the court system. Every single trial involves a retrospective

adjudication.   The bulk of trials—civil and criminal—involve an assessment of a party’s


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knowledge at some point in time before the trial. If a psychiatrist can testify as an expert that the

jurors should second-guess their assessments of what was known to a party because the jurors

suffer from hindsight bias, surely many litigants—at least those with the resources—would rush

to offer such evidence.

       Instead of being routine, as it would be if accepted here, expert testimony regarding the

hindsight bias of jurors is vanishingly rare. The Government has not been able to find a single

reported decision in a federal criminal case in which it was admitted. Indeed, the only instance

the Government has located of such evidence being arguably admitted in any federal case was in

Doe by and through Pike v. Pike, 405 F. Supp. 3d 243, 250 (D. Mass. 2019). In that civil case,

however, the issue was scarcely even before the court—the initial motion did not even mention

hindsight bias at all, and the movant mentioned the concept in passing only in reply but devoted

virtually no substantive argument to it. See Doe by and through Pike v. Pike, No. 17 Civ. 40021

(D. Mass.) (ECF Nos. 47 & 50) (memorandum of law and reply). And even in that case the Court

did not actually admit the testimony, but “reserve[d] making a final ruling until trial,” Pike, 405 F.

Supp. 3d at 250, before which the case settled. There is thus scant authority countenancing the

introduction of opinions such as this.

       Indeed, even in the somewhat less prejudicial context of evaluating a witness’s hindsight

bias (instead of the jurors’), expert testimony on hindsight bias has been rejected. In DeWit v. UPS

Ground Freight, Inc., the court found that an expert opinion on hindsight bias “merely takes a

commonsense concept and applies it to a specific field,” and thus did not “concern matters that are

beyond the understanding of the average lay person,” and ultimately excluded it, reasoning that it

“therefore would not be helpful to the jury and offers nothing more than what lawyers for the


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parties can argue in closing arguments.” deWit v. UPS Ground Freight, Inc., No. 16 Civ. 36, 2017

WL 5905575, at *2 (N.D. Fl. Jul. 25, 2017) (citations and internal quotation marks omitted). So

too here. 3

        The defense’s offer of Dr. Dietz’s opinions on hindsight bias to “temper” the jurors’

assessment of the evidence is thus virtually unprecedented. If this Court allowed such testimony

in this case, however, it would likely become much more common. This Court should decline to

open the door to the routine psychoanalysis of the jury in this way.

        3. Opinions as to the “Halo Effect”

        Dr. Dietz’s opinions concerning the “Halo effect”—i.e., that “the positive evaluation of

one characteristic has a radiating effect on how other, non-related characteristics of the individual

are evaluated” (Ex. A at 5)—are irrelevant to any issue to be considered by the jury and appear to

be offered in an effort to encourage jury nullification by engendering sympathy for the defendant,

as well as to offer a factual narrative based on no reliable evidence through a witness plainly

incompetent to do so.

        None of the charges in this case relate in any way to the defendant’s appraisal of Jeffrey

Epstein’s character or whether the defendant did or did not view him in the manner suggested by

the Halo effect. Simply put, if every word that Dr. Dietz said regarding the “Halo effect” and

Epstein’s “brilliance” in exploiting it were taken as true, the defendant would be guilty if she met

the elements of the charged offenses—exactly as she would be if every word Dr. Dietz said on this



3
  Accordingly, even if the defense somehow put at issue whether a witness’s opinion on some
matter was affected by hindsight bias—and the Government cannot currently envision how this is
likely—the proper way of litigating an issue so squarely within the ken of the jury is through lay
evidence and argument, not expert testimony. See deWit, 2017 WL 5905575, at *2.
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subject were disbelieved. Her knowledge and intent are no different if she participated in the

conspiracy due to the Halo effect or for some other reason. 4 Dr. Dietz’s opinions on this topic

simply do not tend to negate any element or establish any defense.

        Instead of serving any proper purpose, the apparent intent behind offering Dr. Dietz’s

opinion on the “Halo effect” is to engender sympathy for the defendant. But juries are not “to act

based on their . . . sympathy.” United States v. Stroming, 838 F. App’x 624, 627 (2d Cir. 2021)

(summary order); see, e.g., United States v. Mustaga, 753 F. App’x 22, 37 (2d Cir. 2018) (summary

order) (“The district court correctly recognized that evidence of solitary confinement could be used

for the improper purpose of provoking juror sympathy.”). Any attempt to encourage such

sympathy is therefore an attempt at nullification, which is itself plainly improper. See, e.g., United

States v. Thomas, 116 F.3d 606, 615 (2d Cir. 1997) (Jury nullification is “by no means a right or

something that a judge should encourage or permit if it is within his authority to prevent.”); id.

at 614 (“We categorically reject the idea that, in a society committed to the rule of law, jury

nullification is desirable or that courts may permit it to occur when it is within their authority to

prevent.”); see also United States v. Washington, 705 F.2d 489, 494 (D.C. Cir. 1983) (per curiam)

(“A jury has no more ‘right’ to find a ‘guilty’ defendant ‘not guilty’ than it has to find a ‘not guilty’

defendant ‘guilty,’ and the fact that the former cannot be corrected by a court, while the latter can

be, does not create a right out of the power to misapply the law. Such verdicts are lawless, a denial

of due process and constitute an exercise of erroneously seized power.” (emphasis in original)).




4
  Evidence of the defendant’s motive may be relevant evidence proving the offense, but evidence
that a “Halo effect” gave the defendant a motive to commit the crime has no relevance as defense
evidence at trial.
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       Compounding the improper nature of this testimony, the defense appears to seek to use Dr.

Dietz to opine as to a complex factual narrative that no reliable process of psychiatric evaluation

could produce. Dr. Dietz is not remotely competent to opine that Epstein would “surround himself

with people who would serve his needs” (Ex. A at 6), or that he was able to “use his brilliance to

manipulate people to do his bidding” or “compartmentalize people into isolated cells in which

none had complete information about his activities” (id. at 7-8). Dr. Dietz has absolutely no basis

to make such broad and sweeping factual claims about Epstein or his relationships with anyone,

much less anyone in this case. It appears that Dr. Dietz has reached his conclusions based solely

on one interview of Epstein with Steve Bannon in which Epstein “acknowledged that he gravitated

to people of power” (Ex. A at 6) and some case documents exchanged in discovery (Def. Expert

Notice Ex. C, attached as Exhibit B). This “evidence” does not even support the point—it suggests

that Epstein looked to the halos of others, not that he generated one himself. And it is no basis, at

all, for Dr. Dietz to suggest to the jury that anyone involved in this case did anything because of

Epstein’s “halo.” 5

       This factual narration of Epstein’s life and apparently the lives of other people who

interacted with him, a defense summation based on a nullification defense masquerading as an

expert witness opinion, is not based on any competent evidence, and in any event is patently not

the product of reliable psychiatric methods reliably applied to this case. See, e.g., Island Intell.



5
  This would not be the first unreliable factual claim made by Dr. Dietz, who testified in a previous
criminal case that a defendant got the idea of drowning her children in the bathtub from an episode
of Law & Order in which a defendant did so and was acquitted on an insanity defense, when in
fact no such episode existed. See generally e.g., Barnette v. United States, No. 12 Civ. 327, 2021
WL 949848, *9-10 (W.D.N.C. March 12, 2021). This led to the reversal of the trial conviction of
the defendant in that case. See Yates v. State, 171 S.W.3d 215, 222 (Tex. App. 2005).
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Prop., 2012 WL 526722, at *2 (“It is also inappropriate for experts to act as . . . vehicles for factual

narrative”). This “opinion” should be precluded.

        4. Opinions as to “Pathways to False Allegations of Sexual Assault”

        The defense’s offer of Dr. Dietz’s opinions regarding the existence of false allegations of

sexual assault and the “multiple pathways to these false allegations of sexual assault” (Ex. A at 7)

is a remarkable departure from permissible practice in a criminal trial. The very form and nature

of all of these opinions is highly prejudicial and seeks to invade the province of the jury and

displace the Court; the offer of these opinions, which are largely lifted “nearly verbatim” from a

single journal article (attached as Exhibit C), is not the product of reliable methods applied to the

case; the opinions are well within the ken of the jury; and there is no showing whatsoever of any

“fit” between these opinions and the evidence to be presented at trial.

        The form of Dr. Dietz’s opinions—listing a number of disparate circumstances and

personality traits, with no showing of any connection to the evidence of this case, and conjecturing

various ways in which they could lead to false allegations of sexual assault—is a breathtaking

inversion of proper expert opinion. To appreciate the audacity of the defense approach, consider

if the Government attempted to do something similar. If the defense put on witnesses at trial, and

the Government then called in rebuttal an expert psychiatrist to offer opinions on “Pathways to

False Exculpatory Testimony” who opined that a variety of circumstances or mental conditions

could hypothetically lead individuals to testify in ways that falsely exculpated a defendant, it is

safe to assume that the defense would object. What the defense offers here is no less inappropriate.

        Beyond the obvious problems with the form of the opinions, the opinions themselves are

plainly not admissible under Rule 702. Dr. Dietz’s opinion that “[f]alse allegations of sexual

assault do occur” (Ex. A at 7), is not helpful to the jury. There will be no dispute that allegations
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can be either true or false, and offering an “expert” opinion that allegations can be false is simply

prejudicial, not only inviting the jury to speculate about the frequency of false allegations but

giving the incorrect impression that they are common. Indeed, if Dr. Dietz seeks to offer such

testimony that false accusations “do occur,” it will open the door for the Government to elicit on

cross-examination that Dr. Dietz’s principal source, which he relies on “nearly verbatim” (Ex. A

at 7), concludes that “the most recent more methodologically adequate studies have indicated that

false allegations are somewhat rare” (Ex. C at 101 (citing study estimating the frequency of false

rape allegations between 2% and 10%)). 6 Of course, the Government’s view is that this entire

topic can serve only to distract the jury from its task of determining whether these specific

allegations are in fact proven beyond a reasonable doubt, and thus Dr. Dietz should be precluded

from offering this opinion.

       Many of the “pathways” Dr. Dietz describes are not just within the ken of the jury, they

are at the core of the jury’s role. It is not helpful to the jury or permissible under Rule 702 for an

expert to testify that “lying,” a mistake of “implied consent,” or “intoxication” could lead to a false

accusation of a crime. Sorting out witness credibility, mistake, or other such circumstances is

squarely the function of the jury, which will be instructed by the Court and which does not need

the help of a psychiatrist to assess such possibilities. See, e.g., United States v. Mulder, 273 F.3d




6
  The Government typically cannot introduce evidence of the statistical infrequency of false
accusations, but if Dr. Dietz is allowed to create a false impression of their frequency, it is only
fair to allow the Government to correct the record. United States v. Bilzerian, 926 F.2d 1285, 1296
(2d Cir. 1991) (“The weighing of relevance under Rule 403 may be altered when a false impression
is created by earlier testimony. That is, evidence whose probative value might not ordinarily
outweigh its prejudicial effect if offered on direct examination is admiss[i]ble to rebut testimony
elicited on cross examination that created a false impression.” (citations omitted)).
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91, 101 (2d Cir. 2001) (“[T]he district court should not admit testimony that is directed solely to

lay matters which a jury is capable of understanding and deciding without the expert’s help.”

(internal quotation marks omitted)).

       Even as to the opinions that involve psychological conditions, Dr. Dietz’s opinions are not

helpful to the jury. While Dr. Dietz’s descriptions of antisocial personality disorder, borderline

personality disorder, histrionic personality disorder, psychotic disorders, delirium, dissociation,

and intellectual disability at least involve Dr. Dietz’s psychiatric training in some way (unlike

pathways such as “lying”), it is hardly beyond the ken of juries to know that mental disorders or

altered mental states may at times motivate people to dissemble or to believe things that are not

true. Attempting to put the imprimatur of an expert on a variety of ways in which mental disorders

can lead to unreliable testimony is simply an attempt to invade the province of the jury by putting

a thumb on the scale in their assessment of witness credibility. 7 See, e.g., Nimely, 414 F.3d at 398

(“[E]xpert opinions that constitute evaluations of witness credibility, even when such evaluations

are rooted in scientific or technical expertise, are inadmissible under Rule 702”); United States v.

Lumpkin, 192 F.3d 280, 289 (2d Cir. 1999) (barring expert from testifying as to scientific principle

related to the assessment of witness credibility as impinging on jury’s role).

       To the extent Dr. Dietz’s opinions include something outside the ken of the average jury—

specifically, that these “pathways” purportedly occur frequently in sexual assault cases—they are




7
 Dr. Dietz should in any event not offer his opinions on false memory, which are apparently
derivative of Dr. Loftus’s. Given that the defense has noticed Dr. Loftus as a witness, if any false
memory testimony is appropriate, it should come from Dr. Loftus, whose research it is based on,
not from Dr. Dietz summarizing Dr. Loftus’s research. The admissibility of Dr. Loftus’s testimony
on false memory is discussed in Section II, infra.
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not reliable. The article that Dr. Dietz relies on—in fact “nearly verbatim” (Ex. A at 7)—was

intended as a research agenda to explain the (undoubted) instances of false accusations, not to

provide a roadmap for establishing the falsity of any allegation. (See Ex. C at 98 (“Part of the

focus of the present paper, then, is to bring attention to the dearth of psychological literature

investigating correlates and causal mechanisms of false allegations of sexual assault and to propose

a model specifying the major causal pathways to false allegations. These pathways are intended

as a model for further empirical investigation.” (emphasis added))). Indeed, the authors were

emphatic that their article not be misused as a simplistic means of “determining the accuracy of

specific accusations.” (Ex. C at 98 (“[A] legitimate concern about enumerating such pathways is

the misuse of psychological diagnoses in determining the accuracy of specific accusations.”)).

       Finally, even to the extent that Dr. Dietz’s opinions on any of these “pathways” offers any

expertise that is truly beyond the ken of the jury, there is no justification for allowing him to offer

these opinions in the abstract without any fit to the facts of the case. At a minimum, unless and

until there is any evidence creating a predicate for the relevance of any of these mental disorders,

it is simply irrelevant—and highly prejudicial—for a psychiatric expert to enumerate a number of

mental disorders and conjecture that they could cause unreliable testimony. See, e.g., LVL XIII

Brands, Inc., 209 F. Supp. 3d at 642 (finding testimony fails Daubert’s “fit” requirement where

there is a lack of “record foundation”). 8 Thus even if, contrary to the arguments above, the Court

believed some of the opinions on these “pathways” could under some circumstances be helpful to

the jury, the Court should defer on the admissibility of such opinions until the evidence at trial



8
 Of course, to the extent a witness’s mental condition is relevant, it should not be simply the
subject of lay diagnosis by the jury, as Dr. Dietz’s notice seems to suggest.
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creates a predicate that a witness has a condition creating such a “pathway.” And even then, as

described above, it is likely that such an opinion, based on one article, would be unreliable, only

marginally helpful to a jury that can understand the relationship between mental illness and truth-

telling, and highly prejudicial by having an expert witness testify to the credibility of other

witnesses. See Fed. R. Evid. 403..

       5. Opinions Regarding the Credibility of Witnesses

       Dr. Dietz also offers several different opinions regarding the assessment of the credibility

of witnesses. These are also not helpful to the jury.

       Dr. Dietz’s opinion that emotional distress is not predictive of the truthfulness of an

allegation invades the core of a jury’s competency—the evaluation of a witness’s demeanor.

Indeed, in very similar circumstances, the Second Circuit has affirmed the exclusion of scientific

expert testimony instructing the jury in how to assess a witness’s demeanor. See Lumpkin, 192

F.3d at 289 (barring expert from testifying that “confidence bears little or no relationship to

accuracy in identifications,” reasoning that “Fundamental to the role of juror as trier of fact is the

task of assessing witness credibility. And, a witness’s demeanor on the stand, including his or her

confidence, impacts the assessment of credibility.”). The same result should apply here.

       Similarly, Dr. Dietz’s opinion that “professionals” evaluate “[c]hanges in the core details

of the allegations” to determine credibility (Ex. A at 10), also invades the province of the jury.

How to reconcile inconsistencies in witness accounts, as part of assessing the credibility of

witnesses, is at the core of the jury’s function. See, e.g., Lumpkin, 192 F.3d at 289. The

Government expects that the Court will instruct the jury on how to assess the credibility of

witnesses, and having one party’s witness lay down a set of expert-endorsed rules can only make

it more difficult for the jurors to follow the Court’s instructions. See, e.g., Hygh, 961 F.2d at 364.
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       Dr. Dietz’s opinion that individuals who have been sexually assaulted have higher rates of

mental disorders than individuals who have not been sexually assaulted, and that these disorders

can affect memory and recall, is prejudicial and unhelpful. Offering this opinion in this form can

only serve to prejudice the jury into making generalizations that certain witnesses, as a category,

are more likely to be less worthy of belief by reason of mental illness. Given that Dr. Dietz

acknowledges that witness credibility should be assessed on a “case-by-case basis” (Ex. A at 11),

that case-by-case assessment is best made by precluding him from offering this prejudicial and

stereotyping opinion before the jury.

       6. Opinions Regarding Post-Traumatic Stress Symptoms

       Finally, Dr. Dietz opines that “significant proportions” of victims exhibit post-traumatic

stress symptomology for “varying durations” and that victims with certain symptoms are

“particularly unlikely to engage in continued communication or friendly gestures with an alleged

perpetrator, to wear clothing provided by an alleged perpetrator, or to unnecessarily recreate a

sexual assault event.” (Ex. A at 11).

       This opinion is confusing and appears not to be relevant to the facts of the case. First, Dr.

Dietz’s conclusion that victims with certain post-traumatic stress symptoms are unlikely to

“unnecessarily recreate a sexual assault event” is illogical given that it appears to place the

responsibility on the victim for experiencing repeated assaults, and at a minimum he should be

required to disclose comprehensibly exactly what behavior he is referring to as unlikely.

       Second, a critical distinction in this case involves the difference between victims of sexual

assaults who are involved an ongoing relationship of attachment and coercion with their abusers—

including the power imbalance arising from the age differential between them and the abusers—

and those who are not. To the extent Dr. Dietz’s testimony primarily addresses the latter category,
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such an opinion is irrelevant and should be precluded for lack of fit with the facts of the case. See,

e.g., LVL XIII Brands, Inc., 209 F. Supp. 3d at 642; Boucher, 73 F.3d at 21 (“expert testimony

should be excluded if it is [inter alia] in essence an apples and oranges comparison” (internal

quotation marks and ellipsis omitted)).

       To the extent Dr. Dietz intends instead to opine on the former category, that opinion is not

reliable. Such an opinion—essentially that it is highly unlikely for abuse victims to continue

relationships with their abusers after the first act of sexual assault—is patently implausible and

inconsistent with the extensive literature on grooming, the pimp-prostitute relationship, delayed

disclosure of sexual assaults, and delayed onset of PTSD, all of which recognize the relative

frequency with which victims of sexual assaults continue contact with their abusers. Indeed, such

opinions would seem in great tension even with Dr. Dietz’s own writings on grooming; if he truly

believes that abused children are unlikely to continue contact with their abusers or wear clothing

provided by their abusers, it would be hard to see how he could express surprise that “even today,

far too many people, including many who should know better, have difficulty grasping the

possibility of nonforceful, nonthreatening, and nonviolent acquaintance molestation, as their

preconceptions of childhood innocence and predatory molesters are too strong to allow them to

accept that children can be so readily manipulated into doing or allowing things that others find

abhorrent.” (See Park Dietz, “Grooming and Seduction”, 33 J. Interpersonal Violence 28, 29

(2018), Ex. D; see also Ex. A at 3 (citing id.)). .

       To the extent Dr. Dietz’s opinion is intended to apply to the context of this case, the defense

has clearly not to date carried the burden of establishing that the methods that led Dr. Dietz to offer

this uncited and implausible opinion are subject to peer review and publication, have attained


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widespread or general acceptance, or are otherwise reliable. See Daubert, 509 U.S. at 593-95, 592

& n.10. Accordingly, unless the defense meets its burden of affirmatively establishing that this

opinion, as applied to the context of this case, meets the Daubert reliability standard, it should be

precluded. See, e.g., P.S. ex rel. Nelson v. The Farm, Inc., 658 F. Supp. 2d 1281, 1288 (D. Kan.

2009) (excluding as unreliable an expert’s opinion that children typically report abuse in response

to direct questioning without holding hearing). Should the defense come forward with some

evidence of reliability in its response papers, the Government would respectfully request an

opportunity to reply or, in the alternative, a Daubert hearing to probe the issue.

        To the extent Dr. Dietz seeks to apply his opinions to the context of this case, the defendant

has not established the reliability of these opinions, which should be precluded or, at a minimum,

explored at a hearing. And to the extent Dr. Dietz seeks to apply his opinions to other contexts,

they are irrelevant. 9

II.     CERTAIN ASPECTS OF THE PROPOSED EXPERT TESTIMONY OF
        DR. ELIZABETH LOFTUS SHOULD BE PRECLUDED

      A. Background

        The defense seeks to offer expert opinions of Dr. Loftus on “the workings of human

memory.” (Ex. A at 1).        Specifically, the defense seeks to offer testimony from Dr. Loftus

regarding:

        1. “[H]ow memory fades and weakens over time.”


9
 The Government understands that Dr. Dietz is not planning on attending the November 10, 2021
Daubert hearing of Dr. Rocchio, and the Government has not to date received any Rule 26.2
disclosures from Dr. Dietz, or even a complete bibliography of the sources cited in his disclosure.
The Government respectfully requests that, should a hearing be scheduled on the reliability of Dr.
Dietz’s opinions, that hearing be held after the defense’s response to this motion and after all
necessary Rule 26.2 disclosures are made.
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       2. “[H]ow        memory       becomes       more       vulnerable      to     contamination.”

        3. “[T]he mechanism by which false and/or distorted memories can be created as a result
of post-event information and occurrences, suggestion, influence or the like.”

       4. “[T]he effects of suggestion on memory,” including how “[s]uggestive activities can
explain how it is that a person might go from having no memory of sexual abuse, and even denying
sexual abuse, to later having [memories] for numerous abusive acts, if the memories are false.”

       5. “[T] he characteristics of false and/or distorted memories” . . . “[i]n particular,” that:

               a.      Such memories “can be described with confidence, detail and emotion,
                       even when they are false”; and

               b.      “[P]eople come to believe in these experiences and are not deliberately
                       lying.”

        6. “[Identification of] some of the suggestive activities that occurred in the current
case,” including “media coverage and other publications (including but not limited to newspaper
and magazine articles, news reports, television shows, documentaries, books, podcasts, websites,
etc.) and discussions/conversations with others, can be sources of suggestion.”

        7. “[H]ow, in a case like this one, suggestion can lead individuals to the construction of
distorted memories.”

(Ex. A at 1-2 (emphasis added)). As set forth below, the Government objects that some of these

opinions (paragraphs 1, 2, 5(b), and 6) are commonsense principles within the ken of the jury;

some (paragraphs 5(a) and 5(b)) invade the province of the jury in assessing witness credibility

and demeanor; some (paragraphs 6 and 7) are vehicles to insert factual narrative about the case;

and some (paragraph 3) are unreliable and lack fit with the case.

   B. Applicable Law

       As a general matter, memory, perception, and the fallibility of human recall—that is, how

people may remember, misremember, or forget past events—are within the ken of the jury. See

United States v. Carter, 410 F.3d 942, 950 (7th Cir. 2005) (“In general . . . jurors understand that

memory can be less than perfect.”); United States v. Smith, 148 F. App’x 867, 872 (11th Cir. 2005)
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(affirming district court’s exclusion of expert testimony on memory and perception, including the

impact of stress on memory, in context of eyewitness reliability because proposed testimony would

not assist the jury); United States v. Labansat, 94 F.3d 527, 530 (9th Cir. 1996) (“It is common

knowledge that memory fades with time.”); United States v. Curry, 977 F.2d 1042, 1050-53 (7th

Cir. 1992) (“[S]uch testimony may be properly excluded where the testimony addresses an issue

of which the jury is generally aware.”); United States v. Shiraishi, No. 17 Cr. 582 (JMS) (RLP),

2019 WL 1386365, at *5 n.7 (D. Haw. Mar. 27, 2019) (where testimony “falls within the common

knowledge of the average layman, [it] is improper testimony under Rule 702”); United States v.

Heine, No. 15 Cr. 238 (SI), 2017 WL 5260784, at *3 (D. Or. Nov. 13, 2017) (finding expert

testimony concluding that memories are fallible and may deteriorate over time to be “within the

ken of the ordinary juror”); United States v. Redwood, 216 F. Supp. 3d 890, 897-99 (N.D. Ill. 2016)

(excluding memory expert under Rules 702 and 403, and noting that “[w]hile in unique

circumstances expert testimony regarding memory and perception may be warranted, this is not

one of those cases”); United States v. Libby, 461 F. Supp. 2d 3, 12 (D.D.C. 2006) (“[J]urors

inevitably encounter the frailties of memory as a commonplace matter of course.”).

       Federal courts—typically in the context of proposed expert testimony regarding witness

identifications—have historically evinced skepticism of so-called memory expert testimony and

have routinely excluded such testimony as unhelpful and because it invades the province of the

jury. See, e.g., United States v. Moore, 786 F.2d 1308, 1311-13 (5th Cir. 1986) (“Until recently,

courts were uniformly skeptical about admitting expert testimony concerning the reliability of

eyewitness identifications,” discussing United States v. Amaral, 488 F.2d 1148 (9th Cir. 1973),




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which affirmed the district court’s exclusion of expert testimony and finding that witness cross-

examination was adequate to “reveal any faults in the identification”).

       With respect to Dr. Loftus specifically, several federal courts have excluded Dr. Loftus’s

testimony on memory as either unhelpful to the jury or as irrelevant given the facts of the case.

See, e.g., Curry, 977 F.2d at 1050-52 (affirming district court’s exclusion of Dr. Loftus’s testimony

about memory in the context of witness identifications, including the fading of memories, witness

confidence in memories, distortion of memories); United States v. George, 975 F.2d 1431, 1432

(9th Cir. 1992) (affirming district court’s denial of funds to defendant to hire Dr. Loftus to testify

regarding eyewitness identification); Moore, 798 F.2d at 1311-13 (affirming district court’s

exclusion of Dr. Loftus’s testimony about memory in context of eyewitness identifications,

including testimony about diminished memory and the incorporation of inaccurate post-event

information); Shiraishi, 2019 WL 1386365, at *5-6 (excluding Dr. Loftus’s testimony regarding

the corruption of memory and related topics); Heine, 2017 WL 5260784, at *2 (excluding memory

expert and discussing Dr. Loftus and Libby); Libby, 461 F. Supp. 2d at 14 (excluding expert

testimony of one expert in a case where the defendant also offered Dr. Loftus’s research and

testimony that the “principles which [the expert] would testify to are not commonly understood by

jurors”); see also R.D. v. Shohola, Inc., 16 Civ. 01056, 2019 WL 6053223, at *10-13 (M.D. Pa.

Nov. 15, 2019) (in civil case, excluding Dr. Loftus’s testimony because it “simply restates matters

within the common understanding of lay jurors” and because her opinions were speculative). 10




10
   It appears that Dr. Loftus has also testified as an expert in federal cases. See, e.g., United States
v. Seltzer, 794 F.2d 1114, 1118 (6th Cir. 1986) (discussing defense expert testimony of Dr. Loftus
that it is not unusual for individuals to forget events); Lam v. City of San Jose, No. 14 Civ. 877
(PSG), 2015 WL 6954967, at *2 (N.D. Cal. Nov. 10, 2015) (denying motion to preclude Dr.
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       More recently, federal courts have been more receptive to allowing expert testimony

beyond general principles of human recall on a case-by-case basis, depending on the special

circumstances or particular facts of a case and only when such opinions are based on reliable

science and fit the facts of the case. See, e.g., Libby, 461 F. Supp. 2d at 9-10 (“There is no clear

case authority, or absolute rule, on when an expert should be permitted to testify on issues

regarding memory and perception. . . . [T]here is no per se rule for or against the admissibility of

such testimony [on memory and perception]. And a court presented with a proffer of expert

testimony must determine its admissibility on a case-by-case basis.” (citing cases)); Shiraishi,

2019 WL 1386365, at *3 (discussing the need for the expert testimony to “fit” the evidence or

facts of the particular case); Shohola, 2019 WL 6053223, at *10-13 (“First, courts have recognized

that expert testimony concerning the vagaries of human recollection that is stated with sufficient

certainty, is grounded upon reliable science, and fits the facts of the case satisfies

the Daubert standard and should be admitted at trial. In contrast, expert opinions regarding the

science of human recollection that are not presented with certainty, lack scientific rigor, or possess

only a tenuous factual fit are often excluded from evidence.” (citing United States v. Mathis, 264

F.3d 321, 336 (3d Cir. 2001))).

       Courts, however, must exercise “judicial oversight” in this area. See Shohola, 2019 WL

6053223, at *10-13. “Left unregulated, memory expert testimony can invade the fundamental

province of the jury—determining witness credibility,” and must be excluded as unduly prejudicial




Loftus’s testimony and noting that the issues identified were more appropriate to explore during
cross-examination).


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under Rule 403. Id. at *6 (citing cases); see also Heine, 2017 WL 5260784, at *2 (excluding expert

testimony under Rules 702 and 403 under the same principles as Libby because it would not be

helpful to the jury and would “invad[e] the jury’s role in assessing the credibility of witnesses,”

and because the trial did “not involve issues of repressed or recovered memories,” among other

things); Libby, 461 F. Supp. 2d at 14 (excluding memory expert’s testimony because it would not

be helpful to the jury, invaded the province of the jury, and was likely to confuse, mislead, or

unduly influence the jury, among other things).

    C. Discussion

        As set forth herein, although the Government acknowledges that testimony about memory

may be proper in response to Dr. Rocchio, Dr. Loftus’s proposed testimony does not satisfy the

Daubert standard. Specifically, the Government objects to any attempt by the defense to offer her

testimony as to (a) opinions as to false memory formation that are unreliable or do not fit the facts

of the case, (b) commonsense principles within the ken of the jury, (c) opinions bearing on witness

credibility and demeanor, and (d) factual narratives about the case.

        1. Opinions as to False Memory Formation

        Dr. Loftus offers the following opinion on false memory formation that is unreliable and

lacks fit to the case:

    •   How false memories may be created through post-event information and occurrences,
        suggestion, and influence, as described in Paragraph 3 above.
        This opinion on false memory formation is central to Dr. Loftus’s testimony, but the

defense has not carried its burden of establishing its reliability. See Fed. R. Evid. 702, 703;

Daubert, 509 U.S. at 589. As an initial matter, the defense expert notice provides no information




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about the bases or details of Dr. Loftus’s opinion—it simply states that she is testifying “[b]ased

on her education, training, experience, and research.” (Ex. A at 1). 11

       Moreover, there is specific reason to doubt the reliability of Dr. Loftus’s opinions as to

false memory formation. A number of Dr. Loftus’s opinions were tested and rejected in United

States v. Libby, 461 F. Supp. 2d at 8-18. There, the defendant relied on Dr. Loftus’s research

regarding alleged juror misperceptions of the reliability of eyewitness identifications, presented in

a 2006 article. See id. at 10-11 (citing, e.g., R. Schmechel, T. O’Toole, C. Easterly, & E.

Loftus, Beyond the Ken? Testing Jurors’ Understanding of Eyewitness Reliability Evidence, 46

Jurimetrics J. 177-214 (2006)). The district court rejected such research, concluding that “the

design of these surveys demonstrates their limited value.” Libby, 461 F. Supp. 2d at 11. The court

found that the survey design used in Loftus’s article was “based primarily on hypothetical

situations involving eyewitness identification and the credibility of eyewitnesses.” Id. The court

also found—and Dr. Loftus “reluctantly agreed in part”—that the some of the studies were in part

“structurally flawed” because certain questions asked of respondents were “unclear.” Id. at 16.

The Government, moreover, understands that much of Dr. Loftus’s research involves controlled

laboratory experiments rather than clinical work because studies about, for instance, the creation

of false memories, may be unethical in the clinical context. See, e.g. Elizabeth F. Loftus, UCI



11
   While the Government’s expert notice for Dr. Rocchio contained similar language, it also
explained that Dr. Rocchio was testifying based on her “extensive clinical experience treating
individuals who suffered s]exual abuse and trauma in childhood and adolescence, as well as Dr.
Rocchio’s experience conducting forensic psychological evaluations of people who have
experienced sexual abuse and trauma.” (Def. Mot. 3 Ex. A at 2). The Government also produced
its notes from its interviews with Dr. Rocchio simultaneously with its expert notice. The defense
expert notice identifies no particular form of training, experience, or research on which Dr. Loftus
is relying, nor has the defense produced any notes of its conversations with Dr. Loftus.
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School of Social Ecology, https://faculty.sites.uci.edu/eloftus/ (“[Dr. Loftus’s] experiments reveal

how memories can be changed by things that we are told.”). Such research may thus be

inapplicable to the facts of this case.

        To the extent that the Court believes that the defense may have carried its burden of

establishing the reliability of Dr. Loftus’s opinions on false memory formation, the Government

respectfully requests a Daubert hearing to test the reliability of these opinions. 12

        Even if any such opinions are reliable, however, they should not be admitted absent an

affirmative showing of “fit” for this case. See Fed. R. Evid. 702 advisory committee n. (stating

that “generalized” expert testimony must “‘fit’ the facts of the case”). For example, testimony

about the ways in which “false and/or distorted memories can be created as a result of post-event

information and occurrences, suggestion, influence, or the like” is irrelevant to this case. At that

level of generality, it has no obvious “fit” to the facts of this case. There is no evidence that

whatever “occurrences, suggestion, influence, or the like” about which Dr. Loftus intends to testify

happened to any witness in this case, much less in a manner that reliably affects memory or would

be probative to the jury. Thus, as with Dr. Dietz, any reliable opinions Dr. Loftus seeks to offer

on false memory formation should be limited to those as to which there is a clear evidentiary

predicate establishing their “fit” to the case.




12
  As with Dr. Dietz, see footnote 9, supra, if a hearing is necessary, the Government similarly
requests that it be conducted after receiving the defense response and after all necessary Rule 26.2
disclosures have been made.
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        2. Commonsense Principles Within the Ken of the Jury

        The following opinions by Dr. Loftus are commonsense opinions within the ken of the

jury:

   •    How memory fades and weakens over time, as described in Paragraph 1 above.

   •    How memory may become vulnerable to contamination, as described in Paragraph 2 above.

   •    How an individual with a false memory may believe that their memory is accurate, as
        described in Paragraph 5(b) above.

   •    Examples of suggestive activities, such as news and media                     reports   and
        discussions/conversations with others, as listed in Paragraph 6 above.

        Any testimony from Dr. Loftus with respect to these commonsense principles of memory

and perception should be excluded under Rules 703 and 403 because such testimony would not

aid the jury. “It is common knowledge that memory fades with time.” Labansat, 94 F.3d at 530

(affirming district court denial of defendant’s motion to retain an eyewitness expert). An expert

is simply not needed to “point out that memory decreases over time.” United States v. Welch, 368

F.3d 970, 973-75 (7th Cir. 2004) (excluding eyewitness memory and perception expert). In

excluding a memory and perception expert in Libby, the court explained:

           [O]n a daily basis the average juror is personally faced with innumerable
           questions of memory and cognition, as everyone in their daily lives is called
           upon to store, encode, and retrieve information he or she has been subjected
           to. Although the average juror may not understand the scientific basis and
           labels attached to causes for memory errors, jurors inevitably encounter the
           frailties of memory as a commonplace matter of course.

Libby, 461 F. Supp. 2d at 12-13. It is similarly common knowledge that memories can be

contaminated, including through exposure to news media. Jurors, like all individuals, may be

asked to remember something, and may become confused as to the source of the memory. And it




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is a tautology that someone who has a false memory—that is, unknowingly misremembers

something—believes it to be accurate. Otherwise it would not be a memory.

       3. Opinions Bearing on Witness Credibility and Demeanor

       The following opinions by Dr. Loftus invade the province of the jury by attempting to

instruct it on how to assess witness credibility and demeanor:

   •   How an individual with a false memory can describe that memory “with confidence, detail
       and emotion,” as described in Paragraph 5(a) above.

   •   How an individual with a false memory is “not deliberately lying,” as described in
       Paragraph 5(b) above.

       Dr. Loftus should be precluded from opining on victim or witness credibility, including by

opining as to how a victim with an alleged false memory may testify (e.g., confidently) and

describing a victim with an alleged false memory as a “liar” or “not a deliberate liar.” Such

opinions would be highly prejudicial and inflammatory, would confuse and mislead the jury, and

would invade the fundamental province of the jury in determining witness credibility. See

Lumpkin, 192 F.3d at 288-89 (affirming district court’s exclusion of expert testimony that a

witness’s confidence does not correlate to the witness’s factual accuracy in the context of an

identification because such testimony “might confuse or mislead the jury”); Shohola, 2019 WL

6053223, at *10-13 (discussing jury’s province of determining witness credibility); Fed. R. Evid.

403. Such opinions, moreover, are effectively defense arguments to be appropriately made during

defense summations. To allow Dr. Loftus to testify that a victim is essentially a liar (but may not

realize she is a liar) or that a witness may testify confidently even when testifying untruthfully

would effectively allow the defense to cloak its arguments under the imprimatur of a purported

expert. The Court will instruct the jury on witness credibility. A defense expert should not provide

a dueling instruction. See, e.g., Hygh, 961 F.2d at 364 (“Even if a jury were not misled into
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adopting outright a legal conclusion proffered by an expert witness, the testimony would remain

objectionable by communicating a legal standard—explicit or implicit—to the jury.”).

           4. Factual Narratives About the Case

           The following opinions are objectionable vehicles for factual narrative about the case:

       •   Identification of “some of the suggestive activities that occurred in the current case,” as
           described in Paragraph 6 above.

       •   How, “in a case like this one, suggestion can lead individuals to the construction of
           distorted memories,” as described in Paragraph 7 above.

           Dr. Loftus should be precluded from embedding a factual narrative about the case in her

opinions. Dr. Loftus has not evaluated any of the victims in this case. Unlike Dr. Dietz, Dr. Loftus

does not even describe what case-specific materials she has reviewed. (Cf. Ex. A at 3 (“Attached

as Exhibit C [and Exhibit B to this motion] is a list of material reviewed by Dr. Dietz.”)). Dr.

Loftus thus has no basis to comment on whether or not certain “suggestive activities” may have

influenced any of the victims before the jury, much less a basis to show that she has “reliably

applied [her] principles and methods of the facts of the case.” Fed. R. Evid. 702. Any such

opinions from Dr. Loftus regarding the facts of this particular case would thus lack any scientific

basis, would be extremely prejudicial, and would mislead the jury. See Fed. R. Evid. 702, 703,

403; see also, e.g., Island Intell. Prop., 2012 WL 526722, at *2 (“It is also inappropriate for experts

to act as . . . vehicles for factual narrative . . . .”).

III.       IF DEFENSE CHALLENGES TO DR. ROCCHIO ARE ACCEPTED, THE
           DEFENSE EXPERTS SHOULD BE EXCLUDED

           It bears noting that neither Dr. Dietz nor Dr. Loftus’s proposed testimony can survive the

defense’s own understanding of the reliability requirements of Daubert. While the Government




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does not share the defense’s view of the law, to the extent the Court accepts that view, Dr. Loftus

and Dr. Dietz should be excluded as well.

       This point is valid in a number of respects, but three in particular bear noting. First, the

defense criticizes Dr. Rocchio in the strongest terms for opining about principles that “have no

associated error rate.” (Def. Mot. 3 at 1, 7, 8, 12, 15; see Ex. A at 3-4). Neither Dr. Loftus nor

Dr. Dietz identify an error rate for a single one of their opinions, much less all of them. Second,

the defense argues that Dr. Rocchio’s opinions cannot be reliably applied by a jury because she

describes phenomena that occur reliably in her practice and the literature, but she does not specify

how often. (Def. Mot. 3 at 7-8, 10, 16 (“Rocchio claims grooming ‘often’ or ‘frequently occurs’

without providing the jury any explanation of how to decide whether grooming actually occurred

in this case.”)). The same could be said for Dr. Loftus and Dr. Dietz. (See Ex. A at 1 (“[Dr. Loftus]

will describe scientific research showing that false memories can be described with confidence,

detail, and emotion, just like true memories.” (emphasis added)); id. at 7 (“False allegations of

sexual assault do occur . . . .”)). Third, the defense argues that Dr. Rocchio’s opinion that “memory

and disclosure of traumatic and abusive events is impacted by a number of factors, including the

circumstances surrounding the trauma,” is “so generic as to be meaningless.” (Def. Mot. 3 at 17).

That opinion is no more generic than the opinion that false memories can be “created as a result of

post-event information and occurrences, suggestion, influence, or the like.” (Ex. A at 2).

       In the Government’s view, the defense’s view in its Daubert motion is unnecessarily

cramped, and each expert opinion’s reliability can be tested individually. But given the defense’s

view of Daubert and its progeny, if Dr. Rocchio’s opinions are excluded based on the defense’s

arguments, Dr. Loftus and Dr. Dietz should be excluded as well.


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                                        CONCLUSION

       Accordingly, the Government respectfully requests that:

   •   Dr. Dietz be permitted to testify in response to Dr. Rocchio, limited to the opinion that
       grooming does not have one settled definition;

   •   Dr. Dietz be precluded from offering opinions regarding hindsight bias, the Halo effect,
       pathways to false allegations of sexual assault, factors bearing on witness credibility, and
       post-traumatic stress symptoms, or in the alternative that a hearing be held;

   •   Dr. Loftus be precluded from offering opinions regarding commonsense principles of
       memory, factors bearing on witness credibility, factual narratives, or false memory
       formation.



Dated: November 8, 2021
       New York, New York

                                                          Respectfully submitted,

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                                                          Southern District of New York


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